           Case 3:19-cv-00575-VLB Document 45 Filed 07/02/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

NICHOLAS CLARK,                         :
                                        :
               Plaintiff,               :
                                        :
VS.                                     :       Case No.3:19-cv-00575 (VLB)
                                        :
COOK, ET AL.,                           :
                                        :
               Defendants.              :       July 2, 2020

               MOTION FOR RELIEF FROM PRO BONO APPOINTMENT

      Pursuant to Local Civil Rule 83.10(g), James Sabatini, Esq. of Sabatini and

Associates, LLC, requests that the Court grant this Motion for Relief from Pro

Bono Appointment in this action. Specifically, Counsel requests relief from Pro

Bono Appointment as follows and for the following reasons:

      1.       In essence, the central legal issue is whether the defendants have

violated the plaintiff's Eighth Amendment rights by refusing to provide her with

gender confirmation surgery. There is circuit split on this legal issue.

      2.       The undersigned does have significant experience in handling

certain types of cases in federal court including employment discrimination

cases. The undersigned does not have experience handling Eighth Amendment

cases.

      3.       The undersigned has a heavy litigation and trial schedule.

      4.       COVID-19 has created significant uncertainty as to when civil jury

trials will resume and when they do resume, the undersigned anticipates that he

will have a significant number of jury trials taking place in a compressed time

period.

                                            1
           Case 3:19-cv-00575-VLB Document 45 Filed 07/02/20 Page 2 of 3




      5.       Given the above, the undersigned needs help. The help needed

includes: (a) appointment of co-counsel (ideally with Eighth Amendment

experience); and (b) flexibility with the scheduling of deadlines in the case.

      6.       Without this help, the undersigned cannot effectively represent the

plaintiff and would seek relief in the form of being removed as appointment

counsel.

      For the foregoing reasons, the Motion for Relief should be granted.

                                        Respectfully Submitted,




                                       By /s/ James V. Sabatini
                                        James V. Sabatini, Esquire     CT 19899
                                        Sabatini and Associates, LLC
                                        One Market Square
                                        Newington, CT 06111
                                        Tel. No.: 860-667-0839
                                        Fax No.: 860-667-0867
                                        e-mail: jsabatini@sabatinilaw.com

                                        Attorney for Plaintiff




                                          2
        Case 3:19-cv-00575-VLB Document 45 Filed 07/02/20 Page 3 of 3




                     ELECTRONIC CERTIFICATE OF SERVICE
       I hereby certify that on July 2, 2020 a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by email to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated in the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.




                                        s/ James V. Sabatini
                                            James V. Sabatini




                                           3
